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9

10                              UNITED STATES DISTRICT COURT

11                             NORTHERN DISTRICT OF CALIFORNIA

12                                  SAN FRANCISCO DIVISION

13                                              )   Case No. 3:17-cv-7303-MMC
     LEGALFORCE RAPC WORLDWIDE,                 )
14   P.C.,                                      )   [PROPOSED] STIPULATED PROTECTIVE
                                                )   ORDER FOR LITIGATION INVOLVING
15                                 Plaintiff,   )   PATENTS, HIGHLY SENSITIVE
                                                )   CONFIDENTIAL INFORMATION AND/OR
16          vs.                                 )   TRADE SECRETS
                                                )
17   TRADEMARK ENGINE, LLC.,                    )
                                                )
18                                 Defendant.   )
                                                )
19                                              )
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20                                              )

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1    1.       PURPOSES AND LIMITATIONS

2             Disclosure and discovery activity in this action are likely to involve production of confidential,

3    proprietary, or private information for which special protection from public disclosure and from use for any

4    purpose other than prosecuting this litigation may be warranted. Accordingly, the parties hereby stipulate to

5    and petition the court to enter the following Stipulated Protective Order. The parties acknowledge that this

6    Order does not confer blanket protections on all disclosures or responses to discovery and that the protection

7    it affords from public disclosure and use extends only to the limited information or items that are entitled to

8    confidential treatment under the applicable legal principles. The parties further acknowledge, as set forth in

9    Section 14.4, below, that this Stipulated Protective Order does not entitle them to file confidential

10   information under seal; Civil Local Rule 79-5 sets forth the procedures that must be followed and the

11   standards that will be applied when a party seeks permission from the court to file material under seal.

12   2.       DEFINITIONS

13            2.1      Challenging Party: a Party or Non-Party that challenges the designation of information or

14   items under this Order.

15            2.2      “CONFIDENTIAL” Information or Items: information (regardless of how it is generated,

16   stored or maintained) or tangible things that qualify for protection under Federal Rule of Civil Procedure

17   26(c).

18            2.3      Counsel (without qualifier): Outside Counsel of Record and House Counsel (as well as their

19   support staff).

20            2.5      Designating Party: a Party or Non-Party that designates information or items that it produces

21   in disclosures or in responses to discovery as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –

22   ATTORNEYS’ EYES ONLY.”

23            2.6      Disclosure or Discovery Material: all items or information, regardless of the medium or

24   manner in which it is generated, stored, or maintained (including, among other things, testimony, transcripts,

25   and tangible things), that are produced or generated in disclosures or responses to discovery in this matter.

26            2.7      Expert: a person with specialized knowledge or experience in a matter pertinent to the

27   litigation who (1) has been retained by a Party or its counsel to serve as an expert witness or as a consultant

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1    in this action, (2) is not a past or current employee of a Party or of a Party’s competitor, and (3) at the time of

2    retention, is not anticipated to become an employee of a Party or of a Party’s competitor.

3              2.8    “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” Information or Items:

4    extremely sensitive “Confidential Information or Items,” disclosure of which to another Party or Non-Party

5    would create a substantial risk of serious harm that could not be avoided by less restrictive means.

6              2.10   House Counsel: attorneys who are employees of a party to this action. House Counsel does

7    not include Outside Counsel of Record or any other outside counsel.

8              2.11   Non-Party: any natural person, partnership, corporation, association, or other legal entity not

9    named as a Party to this action.

10             2.12   Outside Counsel of Record: attorneys who are not employees, owners, shareholders,

11   partners, directors, board members, or any other similar interest holders of a party to this action, or of any

12   other entity in which Raj Abhyanker or any members of Trademark Engine, LLC maintains a business

13   interest or decision-making authority, but are retained to represent or advise a party to this action and have

14   appeared in this action on behalf of that party or are affiliated with a law firm which has appeared on behalf

15   of that party. Outside Counsel of Record does not include House Counsel or any other employees, agents,

16   attorneys, representatives, accountants, or anyone else authorized to act on a Party’s behalf, including but not

17   limited to any affiliates of a Party or other entities in which any employee, agent, attorney, representative,

18   accountant, or anyone else authorized to act on a Party’s behalf holds any ownership, management, or

19   financial interest.

20             2.13   Party: any party to this action, including all of its officers, directors, employees, consultants,

21   retained experts, and Outside Counsel of Record (and their support staffs).

22             2.14   Producing Party: a Party or Non-Party that produces Disclosure or Discovery Material in this

23   action.

24             2.15   Professional Vendors: persons or entities that provide litigation support services (e.g.,

25   photocopying, videotaping, translating, preparing exhibits or demonstrations, and organizing, storing, or

26   retrieving data in any form or medium) and their employees and subcontractors.

27             2.16   Protected Material: any Disclosure or Discovery Material that is designated as

28   “CONFIDENTIAL,” or as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”
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1             2.17    Receiving Party: a Party that receives Disclosure or Discovery Material from a Producing

2    Party.

3    3.       SCOPE

4             The protections conferred by this Stipulation and Order cover not only Protected Material (as

5    defined above), but also (1) any information copied or extracted from Protected Material; (2) all copies,

6    excerpts, summaries, or compilations of Protected Material; and (3) any testimony, conversations, or

7    presentations by Parties or their Counsel that might reveal Protected Material. However, the protections

8    conferred by this Stipulation and Order do not cover the following information: (a) any information that is in

9    the public domain at the time of disclosure to a Receiving Party or becomes part of the public domain after

10   its disclosure to a Receiving Party as a result of publication not involving a violation of this Order, including

11   becoming part of the public record through trial or otherwise; and (b) any information known to the

12   Receiving Party prior to the disclosure or obtained by the Receiving Party after the disclosure from a source

13   who obtained the information lawfully and under no obligation of confidentiality to the Designating Party.

14   Any use of Protected Material at trial shall be governed by a separate agreement or order.

15   4.       DURATION

16            Even after final disposition of this litigation, the confidentiality obligations imposed by this Order

17   shall remain in effect until a Designating Party agrees otherwise in writing or a court order otherwise directs.

18   Final disposition shall be deemed to be the later of (1) dismissal of all claims and defenses in this action,

19   with or without prejudice; and (2) final judgment herein after the completion and exhaustion of all appeals,

20   rehearings, remands, trials, or reviews of this action, including the time limits for filing any motions or

21   applications for extension of time pursuant to applicable law.

22   5.       DESIGNATING PROTECTED MATERIAL

23            5.1     Exercise of Restraint and Care in Designating Material for Protection. Each Party or Non-

24   Party that designates information or items for protection under this Order must take care to limit any such

25   designation to specific material that qualifies under the appropriate standards. To the extent it is practical to

26   do so, the Designating Party must designate for protection only those parts of material, documents, items, or

27   oral or written communications that qualify – so that other portions of the material, documents, items, or

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1    communications for which protection is not warranted are not swept unjustifiably within the ambit of this

2    Order.

3             Mass, indiscriminate, or routinized designations are prohibited. Designations that are shown to be

4    clearly unjustified or that have been made for an improper purpose (e.g., to unnecessarily encumber or retard

5    the case development process or to impose unnecessary expenses and burdens on other parties) expose the

6    Designating Party to sanctions.

7             If it comes to a Designating Party’s attention that information or items that it designated for

8    protection do not qualify for protection at all or do not qualify for the level of protection initially asserted,

9    that Designating Party must promptly notify all other parties that it is withdrawing the mistaken designation.

10            5.2     Manner and Timing of Designations. Except as otherwise provided in this Order (see, e.g.,

11   second paragraph of section 5.2(a) below), or as otherwise stipulated or ordered, Disclosure or Discovery

12   Material that qualifies for protection under this Order must be clearly so designated before the material is

13   disclosed or produced.

14            Designation in conformity with this Order requires:

15            (a) for information in documentary form (e.g., paper or electronic documents, but excluding

16   transcripts of depositions or other pretrial or trial proceedings), that the Producing Party affix the legend

17   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” to each page that

18   contains protected material. If only a portion or portions of the material on a page qualifies for protection, the

19   Producing Party also must clearly identify the protected portion(s) (e.g., by making appropriate markings in

20   the margins) and must specify, for each portion, the level of protection being asserted.

21            A non-party that produces information in documentary form (e.g., paper or electronic documents, but

22   excluding transcripts of depositions or other pretrial or trial proceedings) in response to a subpoena need not

23   designate them for protection. However, for a period of 14 days after any such production, all of the

24   materials produced in response to the subpoena shall be deemed “HIGHLY CONFIDENTIAL –

25   ATTORNEYS’ EYES ONLY.” During that 14-day period, Outside Counsel of Record of both parties may

26   review the documents to determine which documents, or portions thereof, qualify for protection under this

27   Order. Then, Outside Counsel of Record requesting designation shall identify those documents to Outside

28   Counsel of Record for the party that issued the subpoena, who must then affix the appropriate legend
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1    (“CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”) to each page that

2    contains Protected Material. If only a portion or portions of the material on a page qualifies for protection,

3    the Outside Counsel of Record requesting such designation must clearly identify the protected portion(s)

4    (e.g., by making appropriate markings in the margins) and must specify, for each portion, the level of

5    protection being asserted.

6            A Party or Non-Party that makes original documents or materials available for inspection need not

7    designate them for protection until after the inspecting Party has indicated which material it would like

8    copied and produced. During the inspection and before the designation, all of the material made available for

9    inspection shall be deemed “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” After the

10   inspecting Party has identified the documents it wants copied and produced, the Producing Party must

11   determine which documents, or portions thereof, qualify for protection under this Order. Then, before

12   producing the specified documents, the Producing Party must affix the appropriate legend

13   (“CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”) to each page that

14   contains Protected Material. If only a portion or portions of the material on a page qualifies for protection,

15   the Producing Party also must clearly identify the protected portion(s) (e.g., by making appropriate markings

16   in the margins) and must specify, for each portion, the level of protection being asserted.

17           (b) for testimony given in deposition or in other pretrial or trial proceedings, that the Designating

18   Party identify on the record, before the close of the deposition, hearing, or other proceeding, all protected

19   testimony and specify the level of protection being asserted. When it is impractical to identify separately

20   each portion of testimony that is entitled to protection and it appears that substantial portions of the

21   testimony may qualify for protection, the Designating Party may invoke on the record (before the deposition,

22   hearing, or other proceeding is concluded) a right to have up to 14 days to identify the specific portions of

23   the testimony as to which protection is sought and to specify the level of protection being asserted. Only

24   those portions of the testimony that are appropriately designated for protection within the 14 days shall be

25   covered by the provisions of this Stipulated Protective Order. Alternatively, a Designating Party may

26   specify, at the deposition or up to 14 days afterwards if that period is properly invoked, that the entire

27   transcript shall be treated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES

28   ONLY.”
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1             Parties shall give the other parties notice if they reasonably expect a deposition, hearing or other

2    proceeding to include Protected Material so that the other parties can ensure that only authorized individuals

3    who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A) are present at those

4    proceedings. The use of a document as an exhibit at a deposition shall not in any way affect its designation

5    as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”

6             Transcripts containing Protected Material shall have an obvious legend on the title page that the

7    transcript contains Protected Material, and the title page shall be followed by a list of all pages (including

8    line numbers as appropriate) that have been designated as Protected Material and the level of protection

9    being asserted by the Designating Party. The Designating Party shall inform the court reporter of these

10   requirements. Any transcript that is prepared before the expiration of a 21-day period for designation shall be

11   treated during that period as if it had been designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES

12   ONLY” in its entirety unless otherwise agreed. After the expiration of that period, the transcript shall be

13   treated only as actually designated.

14            (c) for information produced in some form other than documentary and for any other tangible items,

15   that the Producing Party affix in a prominent place on the exterior of the container or containers in which the

16   information or item is stored the legend “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –

17   ATTORNEYS’ EYES ONLY.” If only a portion or portions of the information or item warrant protection,

18   the Producing Party, to the extent practicable, shall identify the protected portion(s) and specify the level of

19   protection being asserted.

20            5.3     Inadvertent Failures to Designate. If timely corrected, an inadvertent failure to designate

21   qualified information or items does not, standing alone, waive the Designating Party’s right to secure

22   protection under this Order for such material. Upon timely correction of a designation, the Receiving Party

23   must make reasonable efforts to assure that the material is treated in accordance with the provisions of this

24   Order.

25   6.       CHALLENGING CONFIDENTIALITY DESIGNATIONS

26            6.1     Timing of Challenges. Any Party or Non-Party may challenge a designation of

27   confidentiality at any time. Unless a prompt challenge to a Designating Party’s confidentiality designation is

28   necessary to avoid foreseeable, substantial unfairness, unnecessary economic burdens, or a significant
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1    disruption or delay of the litigation, a Party does not waive its right to challenge a confidentiality designation

2    by electing not to mount a challenge promptly after the original designation is disclosed.

3            6.2      Meet and Confer. The Challenging Party shall initiate the dispute resolution process by

4    providing written notice of each designation it is challenging and describing the basis for each challenge. To

5    avoid ambiguity as to whether a challenge has been made, the written notice must recite that the challenge to

6    confidentiality is being made in accordance with this specific paragraph of the Protective Order. The parties

7    shall attempt to resolve each challenge in good faith and must begin the process by conferring directly (in

8    voice to voice dialogue; other forms of communication are not sufficient) within 14 days of the date of

9    service of notice. In conferring, the Challenging Party must explain the basis for its belief that the

10   confidentiality designation was not proper and must give the Designating Party an opportunity to review the

11   designated material, to reconsider the circumstances, and, if no change in designation is offered, to explain

12   the basis for the chosen designation. A Challenging Party may proceed to the next stage of the challenge

13   process only if it has engaged in this meet and confer process first or establishes that the Designating Party is

14   unwilling to participate in the meet and confer process in a timely manner.

15           6.3      Judicial Intervention. If the Parties cannot resolve a challenge without court intervention, the

16   Designating Party shall file and serve a motion to retain confidentiality under Civil Local Rule 7 (and in

17   compliance with Civil Local Rule 79-5, if applicable) within 21 days of the initial notice of challenge or

18   within 14 days of the parties agreeing that the meet and confer process will not resolve their dispute,

19   whichever is earlier. Each such motion must be accompanied by a competent declaration affirming that the

20   movant has complied with the meet and confer requirements imposed in the preceding paragraph. Failure by

21   the Designating Party to make such a motion including the required declaration within 21 days (or 14 days, if

22   applicable) shall automatically waive the confidentiality designation for each challenged designation. In

23   addition, the Challenging Party may file a motion challenging a confidentiality designation at any time if

24   there is good cause for doing so, including a challenge to the designation of a deposition transcript or any

25   portions thereof. Any motion brought pursuant to this provision must be accompanied by a competent

26   declaration affirming that the movant has complied with the meet and confer requirements imposed by the

27   preceding paragraph.

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1            The burden of persuasion in any such challenge proceeding shall be on the Designating Party.

2    Frivolous challenges and those made for an improper purpose (e.g., to harass or impose unnecessary

3    expenses and burdens on other parties) may expose the Challenging Party to sanctions. Unless the

4    Designating Party has waived the confidentiality designation by failing to file a motion to retain

5    confidentiality as described above, all parties shall continue to afford the material in question the level of

6    protection to which it is entitled under the Producing Party’s designation until the court rules on the

7    challenge.

8    7.      ACCESS TO AND USE OF PROTECTED MATERIAL

9            7.1      Basic Principles. A Receiving Party may use Protected Material that is disclosed or

10   produced by another Party or by a Non-Party in connection with this case only for prosecuting, defending, or

11   attempting to settle this litigation. Such Protected Material may be disclosed only to the categories of persons

12   and under the conditions described in this Order. When the litigation has been terminated, a Receiving Party

13   must comply with the provisions of section 15 below (FINAL DISPOSITION).

14           Protected Material must be stored and maintained by a Receiving Party at a location and in a secure

15   manner that ensures that access is limited to the persons authorized under this Order.

16           7.2      Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise ordered by the

17   court or permitted in writing by the Designating Party, a Receiving Party may disclose any information or

18   item designated “CONFIDENTIAL” only to:

19           (a) the Receiving Party’s Outside Counsel of Record in this action, as well as employees of said

20   Outside Counsel of Record to whom it is reasonably necessary to disclose the information for this litigation

21   and who have signed the “Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit

22   A;

23           (b) the officers, directors, and employees (including House Counsel) of the Receiving Party to whom

24   disclosure is reasonably necessary for this litigation and who have signed the “Acknowledgment and

25   Agreement to Be Bound” (Exhibit A);

26           (c) Experts (as defined in this Order) of the Receiving Party to whom disclosure is reasonably

27   necessary for this litigation and who have signed the “Acknowledgment and Agreement to Be Bound”

28   (Exhibit A);
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1            (d) the court and its personnel;

2            (e) court reporters and their staff, professional jury or trial consultants, and Professional Vendors to

3    whom disclosure is reasonably necessary for this litigation and who have signed the “Acknowledgment and

4    Agreement to Be Bound” (Exhibit A);

5            (f) during their depositions, witnesses in the action to whom disclosure is reasonably necessary and

6    who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise agreed

7    by the Designating Party or ordered by the court. Pages of transcribed deposition testimony or exhibits to

8    depositions that reveal Protected Material must be separately bound by the court reporter and may not be

9    disclosed to anyone except as permitted under this Stipulated Protective Order.

10           (g) the author or recipient of a document containing the information or a custodian or other person

11   who otherwise possessed or knew the information.

12           7.3     Disclosure of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” Information or

13   Items. Unless otherwise ordered by the court or permitted in writing by the Designating Party, a Receiving

14   Party may disclose any information or item designated “HIGHLY CONFIDENTIAL – ATTORNEYS’

15   EYES ONLY” only to:

16           (a) the Receiving Party’s Outside Counsel of Record in this action, as well as employees of said

17   Outside Counsel of Record to whom it is reasonably necessary to disclose the information for this litigation

18   and who have signed the “Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit

19   A;

20           (c) Experts of the Receiving Party (1) to whom disclosure is reasonably necessary for this litigation,

21   (2) who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A), and (3) as to whom

22   the procedures set forth in paragraph 7.4(a)(2), below, have been followed;

23           (d) the court and its personnel;

24           (e) court reporters and their staff, professional jury or trial consultants, and Professional Vendors to

25   whom disclosure is reasonably necessary for this litigation and who have signed the “Acknowledgment and

26   Agreement to Be Bound” (Exhibit A); and

27           (f) the author or recipient of a document containing the information or a custodian or other person

28   who otherwise possessed or knew the information.
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1            7.4 Procedures for Approving or Objecting to Disclosure of “HIGHLY CONFIDENTIAL –

2    ATTORNEYS’ EYES ONLY” Information or Items to Experts.

3            (a)(2) Unless otherwise ordered by the court or agreed to in writing by the Designating Party, a Party

4    that seeks to disclose to an Expert (as defined in this Order) any information or item that has been designated

5    “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” pursuant to paragraph 7.3(c) first must make

6    a written request to the Designating Party that (1) identifies the general categories of “HIGHLY

7    CONFIDENTIAL – ATTORNEYS’ EYES ONLY” information that the Receiving Party seeks permission to

8    disclose to the Expert, (2) sets forth the full name of the Expert and the city and state of his or her primary

9    residence, (3) attaches a copy of the Expert’s current resume, (4) identifies the Expert’s current employer(s),

10   (5) identifies each person or entity from whom the Expert has received compensation or funding for work in

11   his or her areas of expertise or to whom the expert has provided professional services, including in

12   connection with a litigation, at any time during the preceding five years, and (6) identifies (by name and

13   number of the case, filing date, and location of court) any litigation in connection with which the Expert has

14   offered expert testimony, including through a declaration, report, or testimony at a deposition or trial, during

15   the preceding five years.

16           (b) A Party that makes a request and provides the information specified in the preceding respective

17   paragraphs may disclose the subject Protected Material to the identified Designated House Counsel or Expert

18   unless, within 14 days of delivering the request, the Party receives a written objection from the Designating

19   Party. Any such objection must set forth in detail the grounds on which it is based.

20           (c) A Party that receives a timely written objection must meet and confer with the Designating Party

21   (through direct voice to voice dialogue) to try to resolve the matter by agreement within seven days of the

22   written objection. If no agreement is reached, the Party seeking to make the disclosure to Designated House

23   Counsel or the Expert may file a motion as provided in Civil Local Rule 7 (and in compliance with Civil

24   Local Rule 79-5, if applicable) seeking permission from the court to do so. Any such motion must describe

25   the circumstances with specificity, set forth in detail the reasons why the disclosure to Designated House

26   Counsel or the Expert is reasonably necessary, assess the risk of harm that the disclosure would entail, and

27   suggest any additional means that could be used to reduce that risk. In addition, any such motion must be

28   accompanied by a competent declaration describing the parties’ efforts to resolve the matter by agreement
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1    (i.e., the extent and the content of the meet and confer discussions) and setting forth the reasons advanced by

2    the Designating Party for its refusal to approve the disclosure.

3            In any such proceeding, the Party opposing disclosure to Designated House Counsel or the Expert

4    shall bear the burden of proving that the risk of harm that the disclosure would entail (under the safeguards

5    proposed) outweighs the Receiving Party’s need to disclose the Protected Material to its Designated House

6    Counsel or Expert.

7    8.      PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN OTHER

8            LITIGATION

9            If a Party is served with a subpoena, court order or request for information in an administrative

10   proceeding, including but not limited to any Request for Information from the USPTO Office of

11   Enforcement and Discipline, issued in other litigation, arbitration, investigation, or proceeding, that compels

12   disclosure of any information or items designated in this action as “CONFIDENTIAL” or “HIGHLY

13   CONFIDENTIAL – ATTORNEYS’ EYES ONLY” that Party must:

14           (a) promptly notify in writing the Designating Party. Such notification shall include a copy of the

15   subpoena or court order;

16           (b) promptly notify in writing the party who caused the subpoena or order to issue in the other

17   litigation that some or all of the material covered by the subpoena or order is subject to this Protective Order.

18   Such notification shall include a copy of this Stipulated Protective Order; and

19           (c) cooperate with respect to all reasonable procedures sought to be pursued by the Designating Party

20   whose Protected Material may be affected.

21           If the Designating Party timely seeks a protective order, the Party served with the subpoena or court

22   order shall not produce any information designated in this action as “CONFIDENTIAL” or “HIGHLY

23   CONFIDENTIAL – ATTORNEYS’ EYES ONLY” before a determination by the court from which the

24   subpoena or order issued, unless the Party has obtained the Designating Party’s permission. The Designating

25   Party shall bear the burden and expense of seeking protection in that court of its confidential material – and

26   nothing in these provisions should be construed as authorizing or encouraging a Receiving Party in this

27   action to disobey a lawful directive from another court.

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1    9.      A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED IN THIS

2            LITIGATION

3            (a)      The terms of this Order are applicable to information produced by a Non-Party in this action

4    and designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”

5    Such information produced by Non-Parties in connection with this litigation is protected by the remedies and

6    relief provided by this Order. Nothing in these provisions should be construed as prohibiting a Non-Party

7    from seeking additional protections.

8            (b)      In the event that a Party is required, by a valid discovery request, to produce a Non-Party’s

9    confidential information in its possession, and the Party is subject to an agreement with the Non-Party not to

10   produce the Non-Party’s confidential information, then the Party shall:

11           1.       promptly notify in writing the Requesting Party and the Non-Party that some or all of the

12   information requested is subject to a confidentiality agreement with a Non-Party;

13           2.       promptly provide the Non-Party with a copy of the Stipulated Protective Order in this

14   litigation, the relevant discovery request(s), and a reasonably specific description of the information

15   requested; and

16           3.       make the information requested available for inspection by the Non-Party.

17           (c)      If the Non-Party fails to object or seek a protective order from this court within 14 days of

18   receiving the notice and accompanying information, the Receiving Party may produce the Non-Party’s

19   confidential information responsive to the discovery request. If the Non-Party timely seeks a protective

20   order, the Receiving Party shall not produce any information in its possession or control that is subject to the

21   confidentiality agreement with the Non-Party before a determination by the court. Absent a court order to

22   the contrary, the Non-Party shall bear the burden and expense of seeking protection in this court of its

23   Protected Material.

24   10.     UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

25           If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed Protected Material to

26   any person or in any circumstance not authorized under this Stipulated Protective Order, the Receiving Party

27   must immediately (a) notify in writing the Designating Party of the unauthorized disclosures, (b) use its best

28   efforts to retrieve all unauthorized copies of the Protected Material, (c) inform the person or persons to
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1    whom unauthorized disclosures were made of all the terms of this Order, and (d) request such person or

2    persons to execute the “Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit A.

3    11.     INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE PROTECTED

4            MATERIAL

5            When a Producing Party gives notice to Receiving Parties that certain inadvertently produced

6    material is subject to a claim of privilege or other protection, the obligations of the Receiving Parties are

7    those set forth in Federal Rule of Civil Procedure 26(b)(5)(B). This provision is not intended to modify

8    whatever procedure may be established in an e-discovery order that provides for production without prior

9    privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the parties reach an

10   agreement on the effect of disclosure of a communication or information covered by the attorney-client

11   privilege or work product protection, the parties may incorporate their agreement in the stipulated protective

12   order submitted to the court.

13   12.     MISCELLANEOUS

14           12.1     Right to Further Relief. Nothing in this Order abridges the right of any person to seek its

15   modification by the court in the future.

16           12.2     Right to Assert Other Objections. By stipulating to the entry of this Protective Order no

17   Party waives any right it otherwise would have to object to disclosing or producing any information or item

18   on any ground not addressed in this Stipulated Protective Order. Similarly, no Party waives any right to

19   object on any ground to use in evidence of any of the material covered by this Protective Order.

20           12.3     Filing Protected Material. Without written permission from the Designating Party or a court

21   order secured after appropriate notice to all interested persons, a Party may not file in the public record in

22   this action any Protected Material. A Party that seeks to file under seal any Protected Material must comply

23   with Civil Local Rule 79-5. Protected Material may only be filed under seal pursuant to a court order

24   authorizing the sealing of the specific Protected Material at issue. Pursuant to Civil Local Rule 79-5, a

25   sealing order will issue only upon a request establishing that the Protected Material at issue is privileged,

26   protectable as a trade secret, or otherwise entitled to protection under the law. If a Receiving Party's request

27   to file Protected Material under seal pursuant to Civil Local Rule 79-5(e) is denied by the court, then the

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1    Receiving Party may file the Protected Material in the public record pursuant to Civil Local Rule 79-5(e)(2)

2    unless otherwise instructed by the court.

3    13.     FINAL DISPOSITION

4            Within 60 days after the final disposition of this action, as defined in paragraph 4, each Receiving

5    Party must return all Protected Material to the Producing Party or destroy such material. As used in this

6    subdivision, “all Protected Material” includes all copies, abstracts, compilations, summaries, and any other

7    format reproducing or capturing any of the Protected Material. Whether the Protected Material is returned or

8    destroyed, the Receiving Party must submit a written certification to the Producing Party (and, if not the

9    same person or entity, to the Designating Party) by the 60-day deadline that (1) identifies (by category,

10   where appropriate) all the Protected Material that was returned or destroyed and (2) affirms that the

11   Receiving Party has not retained any copies, abstracts, compilations, summaries or any other format

12   reproducing or capturing any of the Protected Material. Notwithstanding this provision, Counsel are entitled

13   to retain an archival copy of all pleadings, motion papers, trial, deposition, and hearing transcripts, legal

14   memoranda, correspondence, deposition and trial exhibits, expert reports, attorney work product, and

15   consultant and expert work product, even if such materials contain Protected Material. Any such archival

16   copies that contain or constitute Protected Material remain subject to this Protective Order as set forth in

17   Section 4 (DURATION).

18           IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

19
     DATED: January 30, 2019                            /s/ Raj V. Abhyanker______________________
20                                                      Raj V. Abhyanker (SBN 233284)
                                                        Attorneys for Plaintiff
21

22
     DATED: January 23, 2019                            /s/ Nicholas Melzer
23                                                      Nicholas Melzer (SBN 246356)
                                                        Attorneys for Defendant
24

25                                       DERED.
     PURSUANT TO STIPULATION, IT IS SO ORDERED.
             February 4, 2019
     DATED: ________________________                    ______________________________________
                                                          ___
                                                           _____
                                                               ______________________________
26
                                                        MA
                                                         AXINE M. CHESNEY
                                                        MAXINE
27                                                      United States District/Magistrate Judge
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1
                                                        EXHIBIT A
2
     ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
3

4    I, _____________________________ [print or type full name], of _________________ [print or type full

5    address], declare under penalty of perjury that I have read in its entirety and understand the Stipulated

6    Protective Order that was issued by the United States District Court for the Northern District of California on

7    _________ in the case of LegalForce RAPC Worldwide v. Trademark Engine, Case No. 3:17-cv-7303-

8    MMC, I agree to comply with and to be bound by all the terms of this Stipulated Protective Order and I

9    understand and acknowledge that failure to so comply could expose me to sanctions and punishment in the

10   nature of contempt. I solemnly promise that I will not disclose in any manner any information or item that is

11   subject to this Stipulated Protective Order to any person or entity except in strict compliance with the

12   provisions of this Order.

13   I further agree to submit to the jurisdiction of the United States District Court for the Northern District of

14   California for the purpose of enforcing the terms of this Stipulated Protective Order, even if such

15   enforcement proceedings occur after termination of this action.

16
     I hereby appoint __________________________ [print or type full name] of
17
     _______________________________________ [print or type full address and telephone number] as my
18
     California agent for service of process in connection with this action or any proceedings related to
19
     enforcement of this Stipulated Protective Order.
20

21   Date: _________________________________
     City and State where sworn and signed: _________________________________
22

23   Printed name: ______________________________
24   [printed name]

25
     Signature: __________________________________
26

27

28
                                       15
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